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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                   AT COVINGTON

 NICHOLAS SANDMANN, by and                    :   CASE NO. 2:20-CV-00023-WOB-CJS
 through his parents and natural guardians,   :
 TED SANDMANN and JULIE                       :
 SANDMANN,                                    :
                                              :
        Plaintiff,                            :
                                              :
 v.                                           :
                                              :
 THE NEW YORK TIMES COMPANY                   :
 d/b/a THE NEW YORK TIMES,                    :
                                              :
        Defendant.                            :

 NICHOLAS SANDMANN, by and                    :   CASE NO. 20-CV-00024-WOB-CJS
 through his parents and natural guardians,   :
 TED SANDMANN and JULIE                       :
 SANDMANN,                                    :
                                              :
        Plaintiff,                            :
                                              :
 v.                                           :
                                              :
 CBS NEWS, INC., et al.,                      :
                                              :
        Defendants.                           :

 NICHOLAS SANDMANN, by and                    :   CASE NO. 2:20-CV-00025-WOB-CJS
 through his parents and natural guardians,   :
 TED SANDMANN and JULIE                       :
 SANDMANN,                                    :
                                              :
        Plaintiff,                            :
                                              :
 v.                                           :
                                              :
 ABC NEWS, INC., et al.,                      :
                                              :
        Defendants.
                                              :
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 NICHOLAS SANDMANN, by and                    :   CASE NO. 2:20-CV-00026-WOB-CJS
 through his parents and natural guardians,   :
 TED SANDMANN and JULIE                       :
 SANDMANN,                                    :
                                              :
        Plaintiff,                            :
                                              :
 v.                                           :
                                              :
 GANNETT CO., INC. AND GANNETT                :
 SATELLITE INFORMATION                        :
 NETWORK, LLC,                                :
                                              :
        Defendants.
                                              :

 NICHOLAS SANDMANN, by and                    :   CASE NO. 2:20-CV-00027-WOB-CJS
 through his parents and natural guardians,   :
 TED SANDMANN and JULIE                       :
 SANDMANN,                                    :
                                              :
        Plaintiff,                            :
                                              :
 v.                                           :
                                              :
 ROLLING STONE, LLC, et al.,                  :
                                              :
        Defendants.
                                              :

                   DEFENDANTS’ JOINT MEMORANDUM OF LAW
                IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

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                                         INTRODUCTION

        These summary judgment motions follow from this Court’s prior treatment of allegedly

 actionable statements spoken by Nathan Phillips (“the Blocking Statements”) that are at issue in

 each of the defamation suits maintained by Plaintiff Nicholas Sandmann against each Defendant.

 After initially granting The Washington Post’s motion to dismiss in Sandmann’s case, the Court

 reviewed additional allegations proffered by Sandmann and granted reconsideration limited to

 holding that discovery should be had regarding the Blocking Statements and their context, and it

 would then consider them on summary judgment. The Court re-affirmed that holding when

 denying these Defendants’ motions to dismiss.

        That discovery is now complete, and the record fully supports this Court’s initial

 determination that the Blocking Statements constitute non-actionable opinion. Their context

 reflected a situation in which different people had distinct and inherently subjective perceptions of

 the same events, and Sandmann admits that Phillips could have perceived Sandmann to be

 intentionally obstructing Phillips’ way forward. Furthermore, the facts that Phillips disclosed to

 support his perception have proven to be accurate. Moreover, the additional allegations Sandmann

 made in asking the Court to reconsider its initial dismissal of his case against the Post, which he

 repeated in Complaints against these Defendants, have proven to be baseless.

        Even if the Court were to determine that the Blocking Statements are statements of fact

 rather than opinion, summary judgment would still be warranted because the undisputed facts

 show that Sandmann cannot meet his burden to demonstrate that the Blocking Statements were

 materially false.   Put another way, Phillips’ perception that Sandmann blocked him was

 substantially correct. The record shows that before they came face-to-face, Sandmann saw that

 Phillips was moving forward through the crowd of students and other students were moving out

 of his way. But Sandmann thought Phillips was trying to intimidate the students, so he decided


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 not to move aside and instead to stand in Phillips’ way. Sandmann thought that by doing so he

 was standing up for the school and sending Phillips a message that Covington Catholic students

 cannot be intimidated. Summary judgment is therefore also warranted in each of Sandmann’s

 pending cases because the Blocking Statements are substantially true.

                       SUMMARY OF PRIOR PROCEEDINGS AND THESE
                            SUMMARY JUDGMENT MOTIONS

         In Sandmann v. WP Co. LLC, 401 F. Supp. 3d 781 (E.D. Ky. 2019) (“Post”), the Blocking

 Statements that the Court considered were the following:

                    It was getting ugly, and I was thinking: “I’ve got to find myself an
                    exit out of this situation and finish my song at the Lincoln
                    Memorial,” Phillips recalled. “I started going that way, and that guy
                    in the hat stood in my way and we were at an impasse. He just
                    blocked my way and wouldn’t allow me to retreat.

 Id. at 792 (emphasis omitted). With respect to the Blocking Statements, this Court

 initially found:

                    [E]ven if these statements could be construed to refer to Sandmann,
                    they do not convey “actual, objectively verifiable facts.” How
                    Phillips “felt” is obviously subjective, and whether Phillips was
                    “swarmed” or “blocked” is simply not “capable of being proved
                    objectively incorrect.”
                    ...
                    Sandmann admits he was standing in silence in front of Phillips in
                    the center of a confusing confrontation between the students and the
                    Indigenous Peoples group. Sandmann’s intent, he avers, was to
                    diffuse the situation by remaining motionless and calm. Phillips,
                    however, interpreted Sandmann’s action (or lack thereof) as
                    blocking him and not allowing him to retreat.

                    In statement 10 [the Blocking Statements], Phillips disclosed the
                    reasons for his perception: the size of the crowd, the tense
                    atmosphere, taunts directed at his group, and his memories of past
                    discrimination. There were no undisclosed facts, and the reader was
                    in as good a position as Phillips to judge whether the conclusion he
                    reached – that he was “blocked” – was correct.




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 Id. at 792-93 (citations omitted). In granting reconsideration, the Court noted that Sandmann’s

 proposed amended complaint in the Post case “ma[de] specific allegations concerning the state of

 mind of Phillips” and alleged “that Phillips deliberately lied” concerning the events at issue. Post,

 Doc. 64 at 2. After reviewing those additional allegations, the Court determined “that ‘justice

 requires’ that discovery be had regarding these statements [the Blocking Statements] and their

 context. The Court will then consider them anew on summary judgment.” Id.

         Sandmann then sued five more media defendants, each in separate cases. In denying

 motions to dismiss filed by each of these Defendants based on the pleadings, the Court noted that

 all the articles and/or broadcasts at issue included the Blocking Statements either verbatim or other

 materially similar statements made by Phillips. The Court held, based solely on the allegations of

 the Complaints, that Sandmann had sufficiently alleged that the Blocking Statements are capable

 of a defamatory meaning, for the same reason it stated in the Post (and CNN and NBC) cases. The

 Court did not also address whether the Blocking Statements are non-actionable opinion, but rather,

 as in those preceding cases, ruled that discovery was warranted on both Sandmann’s claims and

 the defenses thereto.1 At the Parties’ request, the Court subsequently entered a Scheduling Order

 directing them to first conduct discovery limited to the facts pertaining to the encounter between

 Sandmann and Phillips, to be followed by summary judgment motions limited to whether the

 Blocking Statements are “true or substantially true, or otherwise not actionable based on the

 undisputed facts developed during discovery and the issues defined in the Court’s prior

 decisions.”2 A case will only proceed to a second phase of discovery and motion practice if that

 defendant’s first-phase summary judgment motion is denied. Id.


 1
  See ABC, Doc. 36; CBS, Doc. 33; N.Y. Times, Doc. 27; Rolling Stone, Doc. 35; see also Gannett, Doc. 39.
 The Court also held that Sandmann’s claims were not time-barred. Id.
 2
  ABC, Doc. 49; CBS, Doc. 44; N.Y. Times, Doc. 38; Rolling Stone, Doc. 45; Gannett, Doc. 50.


                                                    3
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         After completing this phase of discovery, based on the Parties’ agreement, Defendants are

 filing a Joint Memorandum addressing all the facts and legal arguments concerning the Blocking

 Statements that the Defendants believe to be common to all of Sandmann’s defamation cases.

 Accordingly, each Defendant is filing this Joint Memorandum in each of their respective cases. In

 addition, each Defendant is also separately filing a (shorter) memorandum of law addressing any

 additional arguments that are specific to that Defendant’s publications.

                                       STATEMENT OF FACTS

         Because the Court ordered discovery regarding the Blocking Statements and their context,

 this Statement of Facts presents the broader context of the events of January 18, 2019. While

 Defendants believe that all the facts below are not subject to any genuine dispute, the facts that are

 most directly material to whether the Blocking Statements are actionable are narrower and

 referenced in the Argument section. Because the Defendants are filing both this Joint and separate

 memoranda that may cite to these facts, for ease of reference the paragraphs below are numbered.

 A.      Two Marches Are Held in Washington, D.C.

         On January 18, 2019, two marches took place in Washington, D.C.: the March for Life and

 the Indigenous Peoples March. The cultural backgrounds and perspectives of some of the people

 who attended those respective events, and then later were involved in the incident that gives rise

 to this case, were quite different.

         1.      Among the attendees at the annual March for Life were a large group of students

 from Covington Catholic High School (“CovCath”), including Plaintiff Nicholas Sandmann. Ex.

 B, Dep. Tr. of Nicholas Sandmann (“S.D.”) at 35:3-21, 36:4-18. The March for Life began in the

 morning. The students were then allowed to explore Washington, D.C. on their own, and were




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 told to arrive in front of the Lincoln Memorial by 5:00 p.m. to board buses to return home. S.D.

 48:3-6; see, e.g., Docs. 61-62, Video 4 at 05:38.3

         2.       The Indigenous Peoples March (“March”) was sponsored by an organization called

 the Indigenous Peoples Movement. Declaration of Nathan Phillips (“Phillips Decl.”) ¶ 2. It was

 held for the first time in 2019 to celebrate unity among indigenous peoples and raise awareness

 about injustices against them. Id.

         3.       Nathan Phillips had no role in planning or organizing the March, and he attended

 at the invitation of a friend. Id. The March began that morning and ended in the afternoon with a

 round dance, a traditional Native American dance that is performed in a circle. The round dance

 was accompanied by hand drums, played to express unity and togetherness. Declaration of Marcus

 Frejo (“Frejo Decl.”) ¶ 6; Declaration of Anthony Tee (“Tee Decl.”) ¶ 5; Phillips Decl. ¶ 3; Video

 4 at 33:45-34:05.

 B.      A Small Group of Black Hebrew Israelites Disparage Multiple Groups and Persons
         Near the Lincoln Memorial

         4.       On the afternoon of January 18, a group of around five to six men, who call

 themselves Black Hebrew Israelites (the “BHI”), were standing in the vicinity of the Lincoln

 Memorial and proselytizing. Video 4 at 00:00-00:11. While the March was still taking place, a

 BHI speaker frequently lobbed invective about Native American religion and culture at its

 participants. See, e.g., Video 4 at 00:14-00:30; see also id. at 34:33-34:57 (“…You worship the

 eagle, you worship the phoenix, you worship the buffalo . . . These are the idols you been


 3
  The Parties in all these cases have stipulated to the authenticity of 20 videos, including 18 depicting events
 that day, and also waived any hearsay objections to them. Each video is identified by a number (Video 1,
 Video 2, etc.) and contained on a thumb drive that, for purposes of the record, has been filed with that
 Stipulation in each case. For ease of reference, this Joint Memorandum cites to the docket numbers in
 Sandmann’s case against ABC, which are Doc. 61 (the Stipulation) and Doc. 62 (the thumb drive) in that
 case. The rest of this Joint Memorandum cites to the Videos on that thumb drive simply by their number
 (Video 1, Video 2, etc.).


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 worshipping. Your idols can’t save you. A damn buffalo can’t save you.”); id. at 37:22-37:27

 (“There’s Uncle Toms. You an Uncle Tomahawk.”). The BHI also disparaged Jews, Catholics,

 gay persons, other Black persons, Republicans, Democrats, and many others. S.D. 67:10-68:1;

 77:9-78:4.

 C.     The Conflict Between the BHI and the CovCath Students

        5.      CovCath students started arriving in the vicinity of the Lincoln Memorial well

 before 5 p.m., and small groups of them began to approach and observe the BHI. See Video 4 at

 05:36-05:45; 38:17-38:46; 45:10-45:14; 49:49-50:08. When a BHI speaker noticed students

 watching, he would often disparage them, including frequently denigrating then-President Trump

 and the Make America Great Again (“MAGA”) hats many of the students were wearing. Video 4

 at 29:20-29:36. Initially, students just watched and then walked away. See Video 4 at 11:19-

 12:07; S.D. 54:12-55:21.

        6.      But as the afternoon wore on, some CovCath students began to respond to the BHI.

 For example, one student responded to statements denouncing President Trump by pulling out a

 water bottle, including one with a “Trump” logo on it, and holding it up at the BHI:




                                                 6
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 Video 4 at 44:39; see Video 4 at 38:00-38:36, 43:56-44:39; S.D. 56:12-56:18, 60:23-62:1 & Ex.

 C. (S.D. Ex. 4). Over time, the size of groups of students approaching the BHI (which sometimes

 also included students from other schools) grew larger. Compare Video 4 at 38:17, with 49:58-

 50:08; S.D. 69:08-70:22. Still, after listening to a BHI speaker hurling insults at them, the students

 would typically just walk away, and the BHI would then turn their attention to someone else.

 Video 4 at 50:02-50:53 (students walk away after BHI speaker calls them “future school

 shooters”); S.D. 71:11-73:15.

        7.      Sandmann arrived in the area around 4:30 p.m. S.D. 48:21-49:3, 74:7-74:14; Video

 4 at 53:34. Over the course of the next 20 minutes, many more CovCath students arrived and they

 began gathering together on and near a flight of steps leading to the Lincoln Memorial. Video 4

 at 1:00:21-1:00:23; 1:06:18-1:06:25; S.D. 47:1-24; 48:11-50:14. For most of that time, the BHI

 stood with their backs to the students and did not address them. Video 4 at 1:00:256-1:01:15;

 1:02:08-1:04:18; 1:06:19-1:06:45.

        8.      But about five minutes before Nathan Phillips approached the students, one of the

 BHI speakers turned to face the students and began flinging more insults. Id. at 1:07:37-1:07:58.

 Among other things he said, “This is what make America great looks like,” and then asked the

 crowd, “When was it great, I dare you to say it?” Id. at 1:07:57-1:08:08. A young man standing

 at the edge of the students on the steps (who may not have been a CovCath student) responded to

 the speaker with a racial insult—a reference to “lynchings”—and multiple people nearby

 (including some who appear to be CovCath students) laughed. Video 4 at 1:08:05-1:08:12; S.D.

 83:1-86:3. The BHI speaker responded: “Exactly, since it started, since you had us in slavery you

 bastards,” to which the same young man responded, “That’s right.” Video 4 at 1:08:12-1:08:17.

 Another CovCath student also heard a classmate lob another insult at the BHI, saying “Can you




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 even read?” Declaration of Sam Brockett (“Brockett Decl.”) ¶¶ 6-7, id. Ex. A at 9:53-10:56; Ex.

 A at 4.4

         9.        At this point, a few CovCath students requested and received permission from a

 chaperone to try to “drown out” the BHI by using cheers intended for school sporting events. S.D.

 87:23-89:1; 119:15-17; ABC Compl. ¶ 38. The first cheer ended with the students pointing at the

 BHI, waving their thumbs down and booing the BHI. S.D. 105:8-25; Video 5 at 00:00-00:36. The

 BHI insulted the students in return. Video 4 at 1:08:58-1:09:01 (“Y’all sound like a bunch of dogs,

 a bunch of hyenas”).

         10.       The BHI speaker then pointed at the students and said, “There’s a reason why y’all

 outnumber us but y’all keep y’alls distance.” Video 5 at 00:50-01:07; S.D. 113:20-114:12. A

 CovCath student then took another water bottle with the Trump logo, rolled it on the ground to a

 spot that was closer to the BHI, and ran out to pick it up and bring it back. Video 4 at 1:09:13-

 1:09:33; Video 5 at 00:50-1:02; S.D. 106:9-110:7, 111:25-112:4. While he did that, some students

 shouted, “Trump water, Trump water.” Video 5 at 00:50-01:02; S.D. 111:3-14; 112:12-17. Other

 students shouted “Trump, Trump.” Video 5 at 01:07-01:15.

         11.       The students then began “cheering” even more loudly. One student ran down the

 steps, removed three layers of clothing, and stood in front of the crowd bare-chested, flexing his

 muscles while pumping his fists and shouting. The students yelled, stomped on the ground, and

 faced the BHI with their muscles flexed and fists clenched. See Video 4 at 1:09:48-1:10:20; Video

 5 at 1:24-1:54.




 4
   For the convenience of the Court, Defendants have prepared a transcript of the audio interview recording that is
 attached to the Brockett Declaration. That transcript is attached as Exhibit A.


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 Video 4 at 1:54. This was known to the students as the “sumo cheer.” S.D. 27:19-29:15; 95:4-

 95:11; 118:1-25.

        12.     As more students arrived, they edged physically closer to the BHI. Video 5 at 2:57-

 3:20; S.D. 126:2-17. As they got closer, the students continued to shout while jumping up and

 down, and one of the students began waving a stick in the air. Video 5 at 02:30-02:37; Video 4 at

 1:10:49-1:10:52. This was not an organized cheer. S.D. 122:2-123:8.

        13.     Several young men joined the students by waving their fists in the air and yelling

 “Trump, Trump.” Video 5 at 02:37-02:44; S.D. 123:9-125:8. The CovCath students then gathered

 in a circle and knelt on one knee or squatted, while a few students stood to lead groups who jumped

 up and down and shouted loudly, which among themselves was known as the “Victory is our Battle

 Cry” cheer. Video 5 at 03:20-03:50; S.D. 33:8-34:1,131:24-132:11.

 D.     The Conflict Between the Students and the BHI Was Perceived Very Differently By
        Different People

        The interaction between the students and the BHI was perceived quite differently by those

 present in the area that day.




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        14.     To Sandmann, the BHI’s behavior was a “culture shock.” S.D. 51:4-52:9. He felt

 physically threatened by the BHI and feared that a fight might break out. S.D. 98:6-99:5. And

 though there were more than 100 teenagers and only a half-dozen BHI, Sandmann felt the BHI

 “outmatched” the students because “they looked strong to me” and seemed more physically

 “developed and matured” than the students. S.D. 99:6-100:22.

        15.     In Sandmann’s view, it would also have been “pretty obvious” to every person who

 happened to be on the Mall that day that the students were doing school cheers, because in his

 experience “high school games are very common,” and sports are not something that is possible

 to “avoid.” S.D. 94:23-96:13. In Sandmann’s opinion, there was nothing provocative about the

 “cheers,” or even students rolling a water bottle with a Trump logo towards the BHI while chanting

 “Trump Water.” To Sandmann, that was just “all boys school humor,” and he did not perceive it

 as taunting the BHI. S.D. 112:5-113:5.

        16.     Sandmann acknowledges, however, that “maybe not” everyone in the area that day

 would have recognized the sumo cheer as a school cheer. S.D. 119:4-10. Rather, he acknowledges

 that “a person watching over 100 white teenage boys responding to [the] BHI by yelling loudly,

 jumping up and down with clenched fists held toward them” could have perceived the students to

 be expressing hostility and aggression towards the BHI. S.D. 119:15-120:9.

        17.     At least one CovCath student was uncomfortable with the “cheers.”           As he

 explained later to an investigator hired by the Diocese of Covington, he saw “two really divided

 groups, divided by race, divided by political views and stuff.” Brockett Decl. ¶¶ 6-7, Brockett

 Decl. Ex. A at 13:24-14:43; Ex. A at 5. He thought it would have been better to just “leave it be”

 rather than respond to the BHI, let alone with raucous chants. Brockett Decl. Ex. A at 7:12-7:36;

 Ex. A at 3. He thought his classmates’ response could provoke a fight and that the school



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 chaperones who were there should have intervened to “stop it from escalating.” Brockett Decl.

 Ex. A at 12:30-13:01; Ex. A at 5. He and a couple of friends therefore walked away from the

 group rather than join in. Brockett Decl. Ex. A at 5:13-6:39; Ex. A at 3.

            18.   The Lincoln Memorial is a major tourist attraction, and the clash between the BHI

 and the CovCath students took place in full public view. One person who was in the area at that

 time was Marcus Frejo, a musician who had driven to the March from his home in Oklahoma City.

 After the March ended, he stayed on the Mall a little longer just to “enjoy the positive, spiritual

 energy [he] was feeling” at the conclusion of the March. Frejo Decl. ¶¶ 4, 7.

            19.   Frejo watched the escalating confrontation between the students and the BHI with

 growing alarm. Id. ¶¶ 7-10. He did not perceive what the students were doing to be school cheers,

 but rather saw aggressive shouts and physical gestures that to him seemed intended to taunt the

 BHI. Id. He perceived the “sumo cheer” to be an appropriated version of the haka, a traditional

 dance performed by the Maori of New Zealand, which he felt was insulting to indigenous cultures.

 Id. ¶ 9.

            20.   Another person watching from a different spot was Anthony Tee, a friend of Frejo’s

 and also a musician, who had also driven to the March from Oklahoma City. Tee Decl. ¶ 4. To

 Tee, the behavior of the BHI was not a culture shock at all. He had encountered BHI street

 proselytizers before, and when the BHI had been disparaging Native Americans earlier, he briefly

 tried to reason with one of them. Id. ¶¶ 4-6. More shocking to Tee was the way the students were

 responding. Tee teaches music to teenagers, but he did not perceive what the students were doing

 to be school cheers. Rather, he perceived the students to be engaging in aggressive machismo. He

 thought the students probably meant no harm, but he feared their behavior could provoke a




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 response from the BHI that could lead to students getting hurt. He was upset that no adults stepped

 in to stop the students’ behavior. Id. ¶¶ 7-9.

        21.     Alvaro Andrade also was in the area, having driven to the March from New Jersey.

 Declaration of Alvaro Andrade (“Andrade Decl.”) ¶ 5. He was familiar with the BHI, having seen

 members on the streets of New York. Id. Andrade saw what looked to him like a large group of

 white teenagers using shouts and clenched fists in a face-off with a small number of Black men

 and thought the situation “just needed one spark to detonate.” Id. ¶¶ 7-8.

        22.     Nathan Phillips also was watching the escalating tension between the teenagers and

 the BHI. Phillips Decl. ¶ 7. He had noticed the BHI earlier when they were insulting Native

 Americans but had just ignored them. Id. ¶ 4. After the March ended, Phillips stayed in the area

 because he was helping clean up and waiting to meet up with others to go to dinner. Id. ¶ 6.

 Phillips can be seen on videos standing in different places around that area. Video 4 at 50:52-

 50:54; 57:16-57:19.

        23.     What Phillips perceived were not school cheers, but rather a large and growing

 group of white teenagers screaming and seemingly acting physically aggressive, while edging

 closer to a few Black men who were insulting them. Phillips Decl. ¶¶ 7-11. To him, it brought to

 mind other historical images where large groups of white men gathered in opposition to those they

 felt had offended them, leading to physical violence against members of minority groups. Id. ¶

 10.

 E.     Phillips Tries to Calm the Situation With Song and Prayer

        24.     As the confrontation seemed to grow more tense, Phillips verbalized to others

 standing nearby that somebody should do something about the tense situation. Someone who

 Phillips did not know, who was wearing a red cap with the American Indian Movement logo,

 suggested to Phillips that he drum and sing to try to do something about the situation. Even though


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 in his culture it is not standard to refuse such a request, at first Phillips hesitated. Id. ¶ 12. But

 Phillips’ religious heritage had taught him that song and prayer can bring healing to people who

 are feeling anger and hatred, so to him the suggestion was a natural response to the scene he was

 witnessing, and he decided to follow it. Id. ¶ 14.

         25.    Andrade, who was standing nearby, made that suggestion to Phillips. Andrade

 Decl. ¶¶ 7-9. Andrade is a musician who performs Native music and shares the belief that song

 has the power to calm tense situations. Id. ¶ 8. Andrade did not know Phillips, but he thought

 that as an elder, Phillips would be a natural person to try to defuse the situation. Id.

         26.    Tee was also standing nearby at the time. Tee had earlier helped lead the round

 dance at the March by playing his drum. Tee Decl. ¶ 5; Video 4 at 33:50. Tee and Phillips did

 not know each other, but like Phillips, Tee believes that music has medicinal and spiritual power

 to bring calm. Tee thought that Phillips playing the drum would be a natural and positive way to

 try to accomplish that, and so he gave Phillips his drum to use. Tee Decl. ¶¶ 10-11; Phillips Decl.

 ¶ 13.

         27.    Phillips took Tee’s drum and began singing the American Indian Movement

 (“AIM”) song, a traditional Native song that “expresses unity and can be used as a prayer.” Phillips

 Decl. ¶ 13. In Phillips’ culture, the drum is an instrument used to talk to a higher spiritual and

 religious power. Id. ¶ 14. Phillips initially sang while standing in the same place where he had

 been watching the confrontation between the students at BHI, which was off to the side at some

 distance away from both groups. Video 17 at 00:00-01:07; Phillips Decl. ¶ 15.




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 Video 17 at 00:37.

        28.     When Phillips began his prayer, Frejo was standing closer to the students and was

 one of many people in the area filming what was happening. Frejo Decl. ¶ 11; Video 4 at 1:09:39-

 1:09:45. Frejo saw that Phillips was singing with Tee’s drum. Frejo did not know Phillips but

 recognized him because they had both attended a demonstration at the Standing Rock Indian

 Reservation several years earlier. Frejo, also a musician, likewise believes that song and prayer

 have the power to calm and restore balance to tense situations. Frejo Decl. ¶ 13. That is what he

 perceived Phillips to be doing, which Frejo thought was a positive response to the situation. And

 as Phillips was an elder, Frejo wanted to support and join him. Id.; Tee Decl. ¶ 12. Frejo was

 carrying his own drum in a backpack, so he approached Phillips and told Phillips he was going to

 sing with him. Frejo Decl. ¶ 14; Video 17 at 01:10-01:11. Frejo then moved forward, so that he

 and Phillips could be a little closer to the students and the BHI. Frejo Decl. ¶ 14; Video 17 at

 01:11-01:28.

        29.     A few other persons who had been standing nearby followed them. One was Ashley

 Bell, who came from Connecticut. Declaration of Ashley Bell (“Bell Decl.”) ¶ 3. She had met

 Phillips at Standing Rock and had kept in touch with him since. Id. ¶ 4. She had watched the

 escalating confrontation and also perceived the students’ behavior to be aggressive and


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 provocative. Id. ¶¶ 8-10, 12. She understood the AIM song to be a peaceful gesture, respected

 Phillips as her elder and followed him. Id. ¶¶ 11, 13.

        30.     Another person who followed was Jon Stegenga, from South Carolina. He is a

 freelance photojournalist who was covering the March and did not know Phillips. Declaration of

 Jon Stegenga (“Stegenga Decl.”) ¶¶ 2, 4-5, 8. Andrade also followed Phillips. He had brought his

 personal video camera to the March and filmed what was happening to have his own record of the

 experience. Andrade Decl. ¶¶ 10-11.

 F.     Phillips Approaches the CovCath Students

        31.     Once Frejo joined him, on the spur of that moment Phillips walked up to stand in

 front of the students, to place himself between them and the BHI. Phillips did not ask anyone to

 join him or to record anything on camera. Phillips Decl. ¶¶ 17, 33; Video 4 at 1:12:17-1:12:30;

 Video 17 at 1:28-1:32. Phillips hoped that praying in front of the students would help calm the

 situation. Phillips Decl. ¶ 17. Frejo, Andrade, and Bell were not expecting Phillips to walk up to

 the students, but they supported what they believed he was trying to do and continued following

 him as an elder. Frejo Decl. ¶ 15; Bell Decl. ¶ 13; Andrade Decl. ¶ 11. As a photojournalist,

 Stegenga followed to continue documenting whatever happened that day. Stegenga Decl. ¶ 9.

        32.     When Phillips approached and faced the students, he had hoped they would respond

 with respect and decorum. Phillips Decl. ¶¶ 18, 20. Instead, he first noticed they were gathered

 in what looked to him like a huddle, which he thought indicated they might be planning to take

 some kind of action, like rushing the BHI:




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 Video 5 at 3:44. And when Phillips did approach, most of the students immediately responded by

 dancing, hooting, and laughing. E.g., Video 5 at 4:23-5:10; Video 17 at 2:00-2:45. Many students

 then raised and lowered their arms in a “tomahawk chop” and yelled out the cheer that traditionally

 accompanies the tomahawk chop at sports games involving some teams with Native American

 mascots. Video 2 at 00:24-00:33; Video 4 at 1:14:07-1:14:15; S.D. 152:13-153:14, 209:11-209:23.




 Video 2 at 00:25.

        33.     Phillips felt this behavior was mocking Native American culture and himself.

 Phillips Decl. ¶ 20. The few others who had initially started singing with him and then followed

 him to the students also viewed that conduct as mocking and disparaging. Frejo Decl. ¶ 15;

 Andrade Decl. ¶ 12; Bell Decl. ¶ 14; see also Stegenga Decl. ¶ 10. That view was not limited to

 them; another CovCath student also was troubled by it. Brockett Decl. Ex. A at 9:53-10:56; Ex.


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 A at 4 (“I heard, we were going when Nathan Phillips came up, started doing the tomahawk thing

 at ‘em, which some people could see as offensive. And I didn’t think it was a good idea to, you

 know, do that one in particular directly at a Native American.”).

         34.    And while Sandmann maintains that video showing him raising and lowering his

 arm while others were doing that was not a tomahawk chop (he testified “I think I had raised my

 hand up to point at something”), he disagrees that such behavior was mocking, and even opines

 that “you could argue that people are doing it to . . . support Native Americans.” S.D. 152:13-

 155:17, 209:21-212:22. But he acknowledges others see it differently and that Phillips could have

 perceived the chop and other behavior to be mocking him. S.D. 157:19-158:7, 210:8-212:14 (“I

 never claimed that he felt like we weren’t mocking him. I mean, he’s entitled to feel however he

 wants to. What I'm saying is that I -- from my perception, it didn’t seem like anyone ever was

 mocking him.”).

        35.     When Phillips first approached, the students were standing in a sort of half-circle

 to his left and in front of him, so the area to his right and rear were largely empty:




 Video 5 at 04:22. But over the course of the next minute or so, CovCath students and other

 onlookers filled in the areas around Phillips and the few others who had initially joined him to sing




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 the AIM song. Phillips Decl. ¶ 21; Bell Decl. ¶ 14; Video 10 at 00:00-00:05. This screenshot is

 taken from video showing the crowd about 25 seconds before Phillips’ encounter with Sandmann:




 Video 10 at 00:02; see also id. at 00:26-00:27; S.D. 162:15-167:15 (acknowledging “a bunch of

 people that are behind” Phillips); S.D. 214:13-19 (“Q: [] I mean, it’s just a matter of opinion, right?

 Somebody could perceive that there are students now who have sort of swarmed around Phillips

 on both sides, right? A: Yeah. I mean, someone could look at it that way if they wanted to.”).

 G.     Phillips Tries to Exit and CovCath Students Move Aside to Let Him Pass, But
        Sandmann Decides to Send Phillips a Message by Standing in His Way

        36.     Given the behavior and positioning of the crowd, Phillips became concerned for

 himself and the safety of the few people who had first started singing with him. So he decided to

 try to exit the situation. Phillips Decl. ¶ 21. He started looking around and moving towards his

 right, but he perceived there were people all around him. Id.; Video 2 at 00:10-00:23; Video 10 at

 00:00-00:11. Phillips did not know why people were there, nor who they were, and he did not see

 any way out that way. Phillips Decl. ¶ 21. Phillips decided to try to exit the crowd by walking up

 towards the Lincoln Memorial and finishing his song there. Id. ¶ 22.




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        37.     When Phillips began to walk forward, there were multiple rows of students standing

 between where he and Sandmann were, as can be seen on several videos (Phillips and Sandmann

 are identified by the yellow circles):




 Video 10 at 00:12; Video 17 at 02:29; see S.D. 160:17-161:6 (“Q: …And so at that point, there

 are several rows of students between you and where Mr. Phillips is, right? A: Correct.”). As

 Phillips began inching forward, student after student moved to the side and out of Phillips’ way,

 and he started walking forward towards the Lincoln Memorial. Phillips Decl. ¶ 22; Video 10 at

 0:12-26; S.D. 161:7-24 (“Q: And in this video [Video 10 at 0:12-0:26], the direction he’s moving

 in is towards the Lincoln Memorial, right? A: Right.”); see Video 2 at 00:32-00:44; S.D. 215:5-

 215:21 (“Q. So in those 12 seconds, those several rows of students who were in front of you before

 have parted for Mr. Phillips, right? A: Right.”), 218:12-218:15; Video 8 at 00:00-00:15; S.D.


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 228:24-229:5; Video 17 at 3:00-3:12, 3:29-3:42. Earlier that day, chaperones instructed the

 CovCath students that if anyone approached their group, they should “walk away.” S.D. 39:5-9.

 As a result, for about 15 seconds Phillips was making progress in exiting the crowd. Video 10 at

 00:12-00:26.

        38.     Sandmann saw that students in front of him were moving out of Phillips’ way and

 that Phillips was walking forward through the path they created for him. S.D. 158:8-159:1 & Ex.

 D (S.D. Ex. 5) at 13:06-13:56 (“Q: …So you knew that some of the other students were parting?

 A: That’s correct. Q: They were moving out of Phillips’ way? A: Yes. Q: To allow a path for him?

 Okay. And you saw that Phillips was starting to walk through your group? A: Yes. Q: All right.

 He was going forward, right? A: Right.”); S.D. 161:7-24. However, Sandmann believed that

 Phillips was trying to intimidate CovCath students by walking through the crowd. S.D. 167:16-

 170:1. He acknowledges this was his subjective interpretation of Phillips’ intentions. S.D. 175:22-

 176:6 (“Q. … It’s your -- your interpretation of what you observed, right, at that moment, was

 that Mr. Phillips was trying to intimidate you, right? A. Right. Do you know for a fact whether

 that is true? A. No. Q. Possibly, you just perceived it? A. I mean, I guess.”).

        39.     So Sandmann decided that he was not going to follow his classmates and move to

 the side when Phillips approached. Instead, he was going to “stand up for the school” by standing

 in Phillips’ way. Sandmann thought that would send Phillips a message that CovCath students

 could not be intimidated. As Sandmann explained in texts the next day with a friend:

        Friend: Can i ask what made you stand in front of the indian guy[?]

        Sandmann: yeah[.] the whole thing with the black people calling us things and the
        guy moving through the crowd trying to intimidate us[.] it just made me want to
        stand up for the school[.]

 S.D. 167:19-169:11 & Ex. E (S.D. Ex. 10) at 1-2.




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        40.    Sandmann said the same thing in direct messages on Twitter he sent to Kyle

 Kashuv and Charlie Kirk, two prominent young conservatives, while riding the bus back to

 Kentucky: “[m]embers of an indigenous people’s march approached me (I was wearing a maga

 hat). The man played his drum in my face but unlike others at my school i didn’t step out of the

 way because he was trying to intimidate us.” S.D. 178:13-181:4 & Exs. F-G (S.D. Exs. 11-12)

 (“Q: So again, you were -- you were aware that others -- other students were stepping out of

 Phillips’ way? A. Right. Q: But you didn’t because you thought he was trying to intimidate you

 collectively? A. Yes, me and other students at the school.”). At his deposition, Sandmann

 elaborated:

               Q: . . . And how did you think that standing in front of Mr. Phillips was standing
               up for the school?

               A: Because we -- the students of the school had stood there long
               enough and taken all kinds of insults from the Hebrew Israelites,
               then had had the Native American -- or Mr. Phillips, the Native
               American, walk through us or whatever. And by the time he got in
               my face, when he could have kept -- he could have even kept going
               through the students if he wanted to, I figured it was time for
               someone to plant their foot and stand there where I had been and
               just face up. And to me, that was standing up for the school,
               because I wasn’t going to move.

               Q. And what message was being communicated by standing up for
               the school? What does that mean?

               A. Well, it means that we can come to Washington, DC and protest
               something that we believe to be deeply wrong and not be harassed
               on our way out.

                                             * * *

               Q: Your text also said: The whole thing with the black people
               calling us things. How did the black people calling us things relate
               to your deciding to stand in front of Mr. Phillips?

               A. Well, as I mentioned – [objection]. As I mentioned, we -- we
               had already taken many insults from them. And at one point, I just
               felt like enough is enough, we don't need to respond to them


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                 anymore with chants: Someone’s just got to stand here, be still and
                 put their foot down.


 S.D. 174:25-175:21; 176:7-20 & Ex. E (S.D. Ex. 10).

         41.     Videos show that “plant[ing] [his] foot and stand[ing] there” in front of Phillips is

 exactly what Sandmann did. As the other students in front of Sandmann were moving out of

 Phillips’ way, Sandmann moved over to his left, set his feet, and was “right in front of Nathan

 Phillips” when Phillips approached. S.D. 248:6-8; see also S.D. 245:23-247:22; Video 17 at

 03:37-03:42 (looking down to adjust his footing as he moved):




 Sandmann does not dispute that he moved over to his left just as Phillips was approaching that

 spot, or that someone who was watching at the time could have noticed that. He merely quibbles

 about exactly what distance he moved. S.D. 245:22-248:8 (“Q: …Can you say that it’s absolutely

 not noticeable to somebody who was watching this at the time? A: No. I’m -- I’m just saying that

 the movement which I did was minimal. It’s not like I slid over a foot or two. I moved six inches

 at the most . . . Q: So at this point, you are right in front of Nathan Phillips, right? A: Right.”).5

 H.      Phillips Perceives that Sandmann Blocked Him

         42.     When Phillips first reached the spot where Sandmann planted himself, he did not

 remain there. Rather, Phillips turned to his left towards the student next to Sandmann (also



 5
   Sandmann also acknowledges that moments earlier, as Phillips was moving through the crowd, Sandmann
 also “may have” moved to his right, as other students were moving out of the way. S.D. 242:13-243:23;
 Video 17 at 03:07-03:12; see also S.D. 206:19–208:7; Video 2 at 00:07-00:10.


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 wearing a red hat in the screenshots below), and that student moved over a little to his side.

 Video 8 at 00:15-00:21; Phillips Decl. ¶ 23; S.D. 229:16-232:6; 236:24-237:10 (Q: So we have

 established that initially you and Phillips came face to face? A: Right. Q: And Phillips turns to

 his left? A: Right. Q: He is looking at Cameron [the student next to Sandmann]? A: Right. Q:

 Right? And Cameron moves-- A: Right. Q: -- to the right? And then Phillips turns back towards

 you, right? A: Right.”). But when Phillips turned back to look forward, Sandmann still did not

 move to make room for him to pass. Video 8 at 00:17-00:20; S.D. 230:21-231:7; 236:24-237:10.

 These screenshots show Phillips’ movements, starting at the point (in the first two screenshots)

 where Sandmann moved to his own left just as Phillips was approaching (Sandmann is identified

 by yellow circles):




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 Video 8 at 00:14, 00:16; 00:19; 00:21. Sandmann admits that it is “possible” Phillips was trying

 to see if both Sandmann and the student next to him would move out of Phillips’ way. S.D. 232:11-



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 14; Phillips Decl. ¶ 23. Several rows of students standing behind Sandmann also started moving

 to the side, but Sandmann stood his ground. Video 2 at 00:44-01:05; S.D. 218:16-18; 221:21-24;

 232:11-18.

         43.     From Phillips’ perspective, he had been moving forward towards the Lincoln

 Memorial as the students in front of him were moving to the side and out of his way. As he was

 walking forward, Phillips saw that a teenager (Sandmann) appeared to position himself to be

 directly in front of him, stood in his way, and did not move. It appeared to Phillips that Sandmann

 did that intentionally to prevent him from continuing to walk forward. Phillips felt surrounded in

 that space and perceived that Sandmann did not want to let him pass. Phillips Decl. ¶¶ 22-26.

         44.     Once he perceived that Sandmann was not moving, Phillips locked eyes with him.

 S.D. 262:21-263:4; 265:7-14; 269:9-18. Phillips felt that he and Sandmann were at an impasse,

 so he stood in place and continued to pray. Phillips Decl. ¶ 26. Sandmann also felt the two were

 at an impasse from his vantage-point. S.D. 263:7-10 (“Q. Did you feel like the two of you were

 at an impasse? . . . A. In some form of it, yes.”). Frejo, Bell, Andrade, and Stegenga also perceived

 that Sandmann blocked Phillips. Frejo Decl. ¶¶ 17-18; Bell Decl. ¶¶ 15-16; Andrade Decl. ¶ 13;

 see also Stegenga Decl. ¶¶ 11-12.6

         45.     Frejo became concerned that Sandmann’s conduct signaled some hostile intent

 towards Phillips. Even before Phillips encountered Sandmann, the behavior of many of the

 students had caused Frejo to become concerned for Phillips’ safety, and he saw it as his duty to



 6
  Although Sandmann was 16 years old and Phillips was in his mid-sixties, when Sandmann stood there, he
 perceived Phillips to be like a child and himself to be like an adult. In a text exchange with a friend the
 next day, Sandmann agreed that he was “acting like the adult and he [Phillips] was the kid,” because
 Sandmann thought Phillips “was trying to intimidate young kids.” S.D. 188:11-19 & Ex. H (S.D. Ex. 13).
 Sandmann also later wrote his principal that he thought he was being “a bigger person” than Phillips. S.D.
 275:7-14 & Ex. I (S.D. Ex. 19). To this day, Sandmann believes that Phillips’ behavior was “childish”
 while his own was “very mature.” S.D. 188:6-189:19.


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 protect an elder. Frejo Decl. ¶ 15. Up to that point, Frejo had been standing behind Phillips, as

 shown in the screenshot below (the person wearing the white cap is Frejo):




                                                                            .

 Video 16 at 00:24. But when it appeared to Frejo that Sandmann was blocking and smirking at

 Phillips, he feared that Sandmann or someone else in the crowd might be intending to provoke

 some kind of confrontation that could result in Phillips getting hurt. So Frejo responded to

 Sandmann’s conduct by moving next to Phillips on his right side, to place himself as a physical

 buffer between Phillips and the crowd to try to protect Phillips (as shown in the screenshots below).

 Frejo Decl. ¶ 19; Video 2 at 01:20-01:25; Video 16 at 00:25-00:39.




        46.     Sandmann does not dispute that, based on observing Sandmann’s behavior, Phillips

 could have perceived that Sandmann was intentionally blocking him:

        Q: Now, those -- the other students -- other students, right, parted for Phillips, correct,
        and you didn’t?

        A: Hut-uhn.

        Q. Couldn’t Phillips have perceived that you intended to stop his path forward?


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        ...

        A. He could have. I think he would have figured out really quickly, if he tried to move
           anywhere else, that I wasn’t going to follow them.

        Q. So you think you could have -- you think he could have figured that out, and we will
           talk about that, but would you acknowledge that he could have perceived that it was
           your intention to stop his path forward?

        A. Right.

 S.D. 198:24-199:16; see also S.D. 269:9-18; 279:3-20.

        47.    Sandmann also acknowledges that there could be significant cultural differences in

 how Phillips and he perceived Sandmann’s conduct:

        Q: [E]ven if a teenager thinks that an older person might be trying to intimidate
           them, you see that that person is walking forward and other people are parting
           for him, isn’t the respectful thing to do to move out of his way as well?

        A. Not if he’s trying to intimidate me.

        Q. …[E]ven if you think the older person is trying to intimidate you, you don’t
           think the respectful thing to do is to just move out of the way?

        A. I can’t see why I would. If -- if they want to intimidate me, which I would
           assume then means they exhibit a dislike of me, I can’t find any compelling
           reason as to why I would equally return the respect to clear a place for them to
           move.

        Q. Do you think people could disagree with you about that?

        A. They could.

        Q. Do you have any idea what in the Native American culture would be
           considered the respectful thing to do in that situation?

        A. I would assume the respectful thing is probably to just move out of the way
           regardless.

        Q. But you disagree with that?




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        A. Well, it’s not how I was raised.

 S.D. 193:25-195:2.

 I.     Phillips and Sandmann Stand Face-to-Face For About Six Minutes

        48.    After Sandmann planted himself in Phillips’ way, the two remained in place for

 approximately six minutes. S.D. 346:24-347:8. Phillips continued to drum and sing the AIM song.

 Phillips Decl. ¶ 26; Video 8 at 00:27-00:33. As he did, voices from the crowd shouted taunts at

 Phillips like “you can’t move him!” (Video 17 at 04:38-04:43; Video 2 at 03:20-03:32; S.D. 253:1-

 254:2; 319:11-25), “he ain’t moving!” (Video 2 at 01:18-01:22; S.D. 311:6-312:5), and

 “unmovable object!” (Video 2 at 01:22-01:29; S.D. 312:6-21).

        49.    While Sandmann had intentionally planted himself in Phillips’ path, after a couple

 of minutes had gone by, Sandmann too started to feel like he wanted to exit the situation. S.D.

 184:25-185:12; 258:23-259:10. By that point, however, the students behind Sandmann who had

 moved to the side when Phillips first approached had moved back over to fill in the space behind

 and around Sandmann. Video 17 at 04:46-05:00; S.D. 258:9-259:10; see also Video 2 at 1:45-

 2:00. Likewise, even more students and onlookers joined the crowd that was behind Phillips:




 Video 2 at 03:42, id. at 3:36-3:42; S.D. 324:15-325:18.

        50.    By that point Sandmann felt “I didn’t have the option” to leave because he

 perceived he was “surrounded” by his classmates, and he also worried he might fall because he



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 says the steps were icy. At that point, he too felt like he was blocked. S.D. 184:11-185:12; 258:23-

 259:10; 260:11-22; 284:7-10 (“Q: …So you said you felt like you were being, at least at one point,

 at some point in the encounter, right, blocked by the crowd? A. Right.”).7 Sandmann felt that way

 even though he thinks his classmates would have made room for him if he had asked them to move

 aside. S.D. 283:9-284:10; see also S.D. 221:2-3 (“I mean, there was never a point where I was

 unable to walk – to walk away.”).

         51.     During those six minutes, more CovCath students mocked Phillips. For example,

 one of Sandmann’s best friends shouted “Grab his d--k and twist it!” while making a twisting

 motion with his hands in the air, and two others standing nearby then did the same thing. Video 2

 at 00:55-01:03; Video 8 at 00:35-00:42; S.D. 299:17-303:1 & Exs. J-K (S.D. Exs. 26-27) (texts in

 which Sandmann’s friends later joke about shouting that). That taunt was from a viral video in

 which a fan at a wrestling match had yelled that to urge one wrestler to do that to the other. S.D.

 303:15-305:19.8 That same friend also shouted, “beat that drum!” at Phillips. Video 2 at 01:29-

 01:51; S.D. 312:22-315:18. Someone else shouted, “get him!” Video 17 at 04:43-04:46; S.D.

 256:11-257:19. Sandmann does not dispute that those statements could be perceived as mocking

 Phillips. S.D. 305:8-19; 315:6-15.

         52.     Shortly before the impasse ended, Andrade had a verbal altercation with the same

 student who had yelled “grab his d--k” and “beat that drum.” Andrade Decl. ¶ 14; Video 3 at

 01:33-02:34; Video 11 at 00:12-00:59. Andrade was frustrated because he felt students were


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   A therapist who later interviewed Sandmann also noted that: “Nick recalled that he could not move, as he
 was being blocked by the crowd.” Ex. L (S.D. Ex. 21). Sandmann now claims that he can’t recall
 specifically using the word “blocked” with that therapist, but confirmed that “I relayed to the doctors that,
 especially when the students filled back in, [] that I had Nathan Phillips in front of me and I had students
 all around me and I was at the center of it and I couldn’t -- I couldn’t have moved to the side for Nathan
 Phillips at that point, really, even if I wanted to. I was stuck in the middle.” S.D. 284:11-287:8.
 8
      See,     e.g.,   “Grab       His     D--k    and     Twist     It,”   YouTube     (Nov.    22,   2018),
 https://www.youtube.com/watch?v=on-RPW7PlYI.


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 continuing to taunt and jeer at Phillips. Andrade Decl. ¶ 14. Nonetheless, Frejo did not think that

 engaging with the student was a good way to handle the situation and urged Andrade, whom Frejo

 did not know, to back off. Video 3 at 02:02; Frejo Decl. ¶ 20. Sandmann did the same thing with

 his friend. S.D. 336:14-25. Phillips also thought to himself that he wished Andrade would stop.

 Phillips Decl. ¶ 27.

 J.     The CovCath Students Disperse

        53.     After about six minutes, a teacher came and told students the buses were arriving.

 Video 3 at 2:20-2:37; S.D. 346:18-347:11; see also Video 11 at 0:58-1:02. Sandmann and other

 students then walked away. Video 11 at 01:02-01:13. Since the teenagers were leaving, Phillips

 no longer felt any need to exit and turned around to continue his prayer. Phillips Decl. ¶ 28.

        54.     Frejo knew he would eventually need to leave because he was performing at a

 concert, but was concerned that Phillips not be left alone. When Frejo let Phillips know he was

 leaving, Andrade told Frejo “don’t worry about it, we’re here” and “I got him” (referring to

 Phillips) to assure Frejo that he would remain with Phillips. Frejo Decl. ¶ 22; Andrade Decl. ¶ 16.

 When Frejo then specifically asked Andrade, “you got him?”, referring to Phillips, Bell chimed in,

 “We got Nate, we got Nate,” to reassure Frejo that she would also stay with Phillips, and Andrade

 reiterated, “I got him, man, we’re not alone.” Frejo Decl. ¶ 22; Andrade Decl. ¶ 16; Bell Decl. ¶

 18; Video 3 at 02:43-02:55; Video 11 at 01:23-01:33.

        55.     About 30 seconds after that, Andrade called out to Phillips, “we won Grandpa, we

 f--ing won, Grandpa.” Video 3 at 03:21-03:24. Andrade called Phillips “Grandpa” because a

 familial term can be a way to express respect and endearment to elders in many indigenous (and

 other) cultures. Andrade Decl. ¶ 17; Phillips ¶ 29. He said “we won” because he felt that Phillips

 had succeeded in getting the students to disperse peacefully. Andrade Decl. ¶ 17. When Andrade

 said that, several onlookers cheered, though Frejo, Tee, and Phillips did not. Video 3 at 03:20-


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 03:34. Phillips did not know what Andrade meant, but Phillips did not personally think of the

 situation as producing winners or losers. Phillips Decl. ¶ 29; see also Frejo Decl. ¶ 23.

        56.     Phillips felt it was time to end the prayer, so he held the drum up and played a faster

 beat while rotating 360 degrees, which was a form of ritual to end a prayer by sending it in all

 directions. Phillips Decl. ¶ 30; Video 3 at 3:21-3:33. Tee, who had been watching from afar,

 rejoined Frejo after the students dispersed. Frejo, Bell, and Tee all felt that Phillips’ music had

 succeeded in bringing healing to a dangerous situation. Frejo Decl. ¶ 24; Bell Decl. ¶ 20; Tee

 Decl. ¶ 14.

        57.     As Phillips walked away, he held his arms up and called out “Relatives, Relatives”

 and then “Let’s make America great, let’s do that.” Video 6 at 00:00-00:30. Phillips was trying

 to address everyone in the area, especially the students. In his culture, “relatives” can be used to

 get the attention of a large group of people. Phillips Decl. ¶ 31. Phillips then walked away. Before

 he left the Mall, a few people with cameras who Phillips did not know approached him and asked

 Phillips to comment on what had just happened, which he did. Id. ¶ 32.

                                    STANDARD OF REVIEW

        At summary judgment, the moving party has the initial burden to demonstrate the absence

 of genuine dispute as to any material fact. Lindsay v. Yates, 578 F.3d 407, 414 (6th Cir. 2009).

 Once that burden is met, the non-moving party must produce “specific facts showing that there is

 a genuine issue for trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986); Bass v. Robinson,

 167 F.3d 1041, 1044 (6th Cir. 1999). The mere existence of some alleged factual dispute is

 irrelevant unless it “might affect the outcome of the suit under the governing law.” Boyd v.

 Baeppler, 215 F.3d 594, 599 (6th Cir. 2000) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.

 242, 248 (1986)). A disputed issue is “genuine” only if a sufficient evidentiary basis exists on

 which a reasonable jury could find for the non-moving party. Anderson, 477 U.S. at 248. Such


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 evidence must be admissible at trial, Alexander v. CareSource, 576 F.3d 551, 558 (6th Cir. 2009),

 and if the evidence is so “one-sided that one party must prevail as a matter of law,” then that party

 must be awarded summary judgment. Roeder v. Am. Postal Workers Union, AFL-CIO, 180 F.3d

 733, 737 (6th Cir. 1999).

        In defamation cases involving matters of public concern, the Kentucky Supreme Court has

 emphasized “the importance of summary judgment in litigation involving First Amendment

 issues. Courts should take precautions to avoid the chilling effect on free speech

 that defamation lawsuits create.” Welch v. American Publ’g Co. of Kentucky, 3 S.W.3d 724, 729

 (Ky. 1999). The Court explained:

        Courts should resolve free speech litigation more expeditiously whenever possible.
        The perpetuation of meritless actions, with their attendant costs, chills the exercise
        of press freedom. To avoid this, trial courts should not hesitate to use summary
        judgment procedures where appropriate to bring such actions to a speedy end.

 Id. (quoting Maressa v. New Jersey Monthly, 445 A.2d 376, 387 (N.J. 1982)).


                                           ARGUMENT

 I.     THE BLOCKING STATEMENTS ARE PROTECTED OPINION.

        As this Court has recognized, statements of opinion receive distinct protection under both

 Kentucky defamation law and the First Amendment. Post, 401 F. Supp. 3d at 791-92; Lassiter v.

 Lassiter, 456 F. Supp. 2d 876, 881-82 (E.D. Ky. 2006), aff’d, 280 Fed. App’x 503 (6th Cir. 2008)

 (citation omitted). Whether a statement is protected as opinion is a question of law for the Court.

 Cromity v. Meiners, 494 S.W.3d 499, 504 (Ky. 2015). Statements are actionable only if they

 “make[] an assertion of fact–that is, an assertion that is capable of being proved objectively

 incorrect,” Clark v. Viacom Int’l, Inc., 617 F. App’x 495, 508 (6th Cir. 2015) (citing Milkovich v.

 Lorain Journal Co., 497 U.S. 1, 20 (1990)), or otherwise “connote[] actual, objectively verifiable

 facts.” Compuware Corp. v. Moody’s Invs. Servs., Inc., 499 F.3d 520, 529 (6th Cir. 2007). But


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 where a statement is of an “inherently subjective nature,” it constitutes protected opinion. Id.;

 Blessing v. Cable News Network, Inc., No. 220CV0015 (WOB-CJS), 2020 WL 7647530, at *6

 (E.D. Ky. Dec. 23, 2020) (quoting Seaton v. TripAdvisor LLC, 728 F.3d 592, 598-601 (6th Cir.

 2013)) (terms conveying “inherently subjective” concepts are protected opinion). Additionally,

 where the factual bases for a statement are disclosed, the “reader is in as good a position” as the

 speaker to “judge” whether the conclusion reached was in fact correct. Lassiter, 456 F. Supp. 2d

 at 882 (defendant’s conclusion that plaintiff had committed adultery “on the basis of [disclosed]

 rumor and circumstantial evidence which was persuasive to her” was opinion); Loftus v. Nazari,

 21 F. Supp. 3d 849, 853 (E.D. Ky. 2014).

        A.       The Blocking Statements Reflected Phillips’ Subjective Perspective.

        Phillips’ impression that he was “blocked” by Sandmann and could not “retreat” was based

 on his own “subjective assessment” of the circumstances resulting in the confrontation with

 Sandmann, including Sandmann’s intentions and conduct. Croce v. Sanders, 843 F. App’x 710,

 715 (6th Cir. 2021). It is well-established that such a presentation of one’s point of view, including

 the perception of another’s motivations, is quintessentially a matter of opinion. See, e.g., id. at

 714 (a statement that “represents a point of view that is obviously subjective” is non-actionable

 opinion); Underwager v. Channel 9 Austl., 69 F.3d 361, 367 (9th Cir. 1995) (statements

 concerning the plaintiff’s “motivations” among others were opinion); Catalanello v. Kramer, 18

 F. Supp. 3d 504, 518 (S.D.N.Y. 2014) (language regarding “motivations underlying [an

 individual’s] alleged actions” is opinion).

        Here, Phillips confirms that he perceived Sandmann to be blocking him, and multiple other

 persons who were looking at the situation from a similar vantage point perceived it the same way.

 See Statement of Facts (“SF”) ¶¶ 43-44. In fact, when Frejo perceived Sandmann to be blocking

 Phillips, he grew so concerned for Phillips’ safety that he moved closer to Phillips to physically


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 protect him. SF ¶ 45. And in Sandmann’s first public statement two days after the incident, he

 said “I never felt like I was blocking the Native American protestor,” which underscores that the

 situation was a matter of perspective. Ex. M (S.D. Ex. 20) at 2 (emphasis added). Moreover, at

 his deposition Sandmann reiterated that although he did not “feel” like he was blocking Phillips,

 he recognized that Phillips “could have” perceived that Sandmann “intended to stop [Phillips’]

 path forward.” SF ¶ 46. Thus, the record warrants granting summary judgment to each Defendant

 on that basis alone.

         The inherent subjectivity of Phillips’ statement is further illustrated by Sandmann’s

 explanation that a few minutes into the standoff, he began to perceive that the rest of the crowd,

 including Phillips, was blocking him. SF ¶¶ 49-50; S.D. 284:7-10 (“Q: …So you said you felt like

 you were being, at least at one point, at some point in the encounter, right, blocked by the crowd?

 A. Right.”). A therapist who interviewed Sandmann recorded that: “Nick recalled that he could

 not move, as he was being blocked by the crowd.” Ex. L (S.D. Ex. 21). And Sandmann felt

 blocked (or, as he also put it, “stuck”) even though he believed his classmates would have made

 room for him if he had asked them to move aside. SF ¶ 50. Someone else watching the same

 events might disagree that Sandmann was being blocked by his friends and classmates, but that

 only further highlights how feeling “blocked” in those moments was a matter of subjective

 impression, not a provable fact. Indeed, much of what occurred throughout that afternoon was

 viewed very differently by different people who were watching the same thing.9


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          For example, to Sandmann the BHI’s behavior was a “culture shock,” while some others there were
 familiar with obnoxious street protestors. Compare S.D. 51:4-52:9, with Andrade Decl. ¶ 5; Tee Decl. ¶ 6.
 And while the students outnumbered the BHI by perhaps 30-1, Sandmann “felt threatened” by the BHI and
 felt they “outmatched” the students. S.D. 80:11; 99:21-100:12. By contrast, others perceived the students
 to be a threat to the BHI. Phillips Decl. ¶¶ 8-11; Frejo Decl. ¶¶ 8-10; Andrade Decl. ¶¶ 6-7; Bell Decl. ¶¶
 8-10. Sandmann saw what the students were doing to be “common or recognizable” school cheers, S.D.
 95:21-22, while to others their conduct appeared to be mob-like aggression. Phillips Decl. ¶ 10; Bell Decl.
 ¶ 9. Sandmann saw rolling a water bottle towards the BHI while shouting “Trump water, Trump water” to


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         B.      Phillips’ Perception Was Supported By Disclosed Facts.

         Additionally, in its initial opinion in the Post case, this Court noted facts disclosed by

 Phillips to support his perception. Post, 401 F. Supp. 3d at 793. Discovery has reinforced that

 conclusion.

         Phillips said that he was trying to exit the crowd by going up to the Lincoln Memorial.

 There is no evidence in the record to create any genuine dispute of fact about that. See Phillips

 Decl. ¶ 22. To the contrary, the videos show, and Sandmann acknowledges, that roughly fifteen

 seconds before he encountered Sandmann, Phillips started moving in the direction of the

 Memorial. Video 10 at 00:12-00:26; S.D. 158:25-159:1; 161:7-24. Nor is there any question that

 when Phillips reached where Sandmann was, Sandmann stood in front of him. SF ¶¶ 37-41.

 Moreover, there is no genuine dispute about the other disclosed facts supporting Phillips’

 perception, which the Court noted in its initial decision, like the size of the crowd, the tense

 atmosphere, and taunts directed at Phillips. Post, 401 F. Supp. 3d at 793.

         With respect to the crowd, videos confirm that the students vastly outnumbered Phillips,

 e.g., Video 10 at 00:00-00:10; Video 3 at 04:08-05:15, and the day after the incident Sandmann




 be just “all boys school humor,” S.D. 112:5-113:6, while others saw such chants to be deliberately
 provocative. Phillips Decl. ¶¶ 7-9; Frejo Decl. ¶ 9; Bell Decl. ¶ 9.
         Once Phillips approached, what he was singing as a prayer to try to calm the students down was
 perceived by some of the students, including at least initially Sandmann, to be an invitation to be even more
 boisterous. S.D. 141:4-10. And Sandmann decided to stand his ground because he “felt” and “perceive[d]”
 that by moving forward through the crowd Phillips was “trying to intimidate” the students. Sandmann also
 “assum[ed]” those who followed Phillips “knew each other”. S.D. 51:4-52:9; 80:11-14; 169:19-170:10;
 173:4-174:19; 192:17-193:2; 195:1-2; 200:11-14; 338:2-10 & Exs. D, H (S.D. Exs. 5, 13) (emphases
 added). Phillips, on the other hand, was trying to exit the crowd because he felt intimidated by the students.
 Phillips Decl. ¶ 21. Finally, in Sandmann’s opinion there was nothing wrong with a 16-year-old
 intentionally standing in the way of an elderly man to try to counter perceived “intimidation,” and both then
 and now he perceives himself to have been “the bigger person” and Phillips to have been behaving like a
 child. S.D. 275:7-14; 295:21-296:2 & Ex. I (S.D. Ex. 19). By contrast, others perceived Sandmann’s
 conduct and affect to be disrespectful and self-righteous. Bell Decl. ¶ 15; Frejo Decl. ¶ 18.




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 wrote to his principal that as the standoff wore on, Sandmann himself came to feel that he was

 surrounded by “250-ish students.” S.D. 260:11-22 & Ex. I (S.D. Ex. 19). Even assuming that

 number may not be precise, id., whatever the exact number may be stands in stark contrast with

 Phillips. See also S.D. 97:14-98:5 (there were “over a hundred of us”). When Phillips first began

 to sing, as he was standing off to the side, there were less than a handful of other people who either

 suggested he sing or indicated to him they too would sing. Phillips only knew one of them, Ashley

 Bell. Phillips Decl. ¶ 33; Frejo Decl. ¶ 14; Bell Decl. ¶ 4; Andrade Decl. ¶ 8. Once Phillips started

 approaching the students, and then throughout the encounter, others gathered behind Phillips. By

 the time Phillips was within the crowd and began moving towards the Lincoln Memorial, there

 were “a bunch of people behind” him, as well as students on all sides of him. Phillips did not

 know who those people were, and as time passed the crowd surrounding him only grew larger.

 S.D. 162:15-167:15; Phillips Decl. ¶ 21.

        As for the tense atmosphere, Sandmann himself describes the atmosphere when Phillips

 first approached the students as “confus[ing]” to both himself and (he perceived) “most of the

 people” there. S.D. 140:12-141:17. Videos confirm that as soon as Phillips approached, many

 students in front of and around Phillips were calling out loudly and jumping up and down, e.g.,

 Video 4 at 1:12:48-1:13:02; Video 5 at 04:28-04:38; Video 17 at 01:59-02:13, and at one point

 two different people – a student standing near Phillips and then a member of the BHI – even

 shouted out “don’t touch him!” (the student) and “y’all better not touch him!” (the BHI). Video 4

 at 1:13:02-1:13:22; Video 5 at 4:18-4:55; S.D. 134:25-139:11; 145:16-147:7. Sandmann himself

 is not certain who was calling out to whom, because “[o]bviously, I believe the Black Hebrew

 Israelites and the student are looking at the situation from two different perspectives.” S.D.




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 146:12-14. Phillips also perceived that students were swarming around him, a perception which

 Sandmann acknowledges is a “matter of opinion.” Phillips Decl. ¶ 21; S.D. 214:13-19.

        And with respect to taunts directed at his group, Phillips confirms that he perceived the

 tomahawk chops, chants, and behavior of some students to be mocking both him and Native

 American culture. SF ¶¶ 32-33. Others felt the same way, including at least one CovCath student.

 SF ¶ 33. And while Sandmann thinks there was nothing wrong with that behavior, he does not

 dispute that Phillips could see it differently. SF ¶ 34. Indeed, Sandmann also felt, from his point

 of view, that he and Phillips were “at an impasse.” S.D. 263:7-10. Thus, the Blocking Statements

 are protected opinion based on disclosed facts. See Macineirghe v. County of Suffolk, No. 13-cv-

 1512 (ADS)(SIL), 2015 WL 4459456 (E.D.N.Y. July 21, 2015) (statement that a plaintiff

 “blocked” a police vehicle was an opinion based on disclosed facts).

        In short, the record confirms this Court’s initial conclusion that “[h]ow Phillips ‘felt’ is

 obviously subjective,” and whether Phillips felt that he was “‘blocked’ is simply not ‘capable of

 being proved objectively incorrect.’” Post, 401 F. Supp. 3d at 792. See also Croce, 843 F. App’x

 at 715 (“[A]n expression of opinion based on [a] subjective assessment . . . cannot support a

 defamation suit.”). Summary judgment for each Defendant should therefore be granted.

        C.      Sandmann’s Amended Allegations Were Baseless Speculation.

        Sandmann’s claims proceeded to discovery on the basis of additional allegations about

 Phillips’ state of mind at the time of the encounter. At the outset, Defendants note that even if

 they were true, which they are not, the Blocking Statements would not be actionable. See

 Milkovich, 497 U.S. at 20 n.7 (noting that a falsely-voiced opinion may only be probative of

 malice, but not of falsity); Hammer v. City of Osage Beach, MO, 318 F.3d 832, 842 (8th Cir. 2003)

 (“Statements of opinion, even if made maliciously or insincerely, are afforded absolute privilege




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 under the free speech clause of the First Amendment and cannot be actionable libel.”). But in any

 event, the record shows those allegations to be nothing more than baseless speculation.

         The gravamen of Plaintiff’s amended theory is that Phillips was never trying to defuse

 anything, never felt threatened, and was not trying to exit the crowd to go to the Lincoln Memorial.

 Rather, Sandmann alleges that Phillips and some unidentified group of “activist companions”

 planned and executed a scheme to instigate and capture a confrontation on video that they could

 then cause to go “viral” on social media. And after the encounter was over and Sandmann walked

 away, Phillips and his “companions” allegedly “celebrated” accomplishing that goal.10

         At his deposition, Sandmann identified four faces from video whom he contends were the

 “companions” who allegedly planned and executed this scheme with Phillips:




 Video 10 at 00:00; S.D. 341:5-345:2 (identifying “the man in the red hat” [Andrade]; “the guy

 with the white hat” [Frejo]; “a man with a snap[b]ack [hat] that’s holding a professional camera”

 [Stegenga]; and a woman with “dream catcher earrings”).11 Sandmann assumed those four

 individuals and Phillips all knew each other because one of them referred to Phillips as “grandpa”;


 10
  ABC Compl. ¶¶ 11, 21, 39-41, 44, 59-60, 63-66; N.Y. Times Compl. ¶¶ 8, 20, 38-40, 43, 58-59, 62-65;
 CBS Compl. ¶¶ 9, 21, 39-41, 44, 59-60, 63-66; Rolling Stone Compl. ¶¶ 10, 20, 38-40, 58-59, 62-65;
 Gannett Compl. ¶¶ 25-27; 30, 45-46, 49-52.
 11
   The unidentified woman with “dream catcher earrings” can be seen in other videos. See, e,g., Video 6 at
 00:47; Video 11 at 01:03-01:05; S.D 342:15-343:1.


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 someone else at some point also referred to Phillips as “elder”; and Sandmann also assumed that

 Phillips helped organize and lead the March so they must have all known one another from that

 event. S.D. 343:14-344:2. Sandmann also identified the man wearing a red hat who is holding a

 camera in the screenshot above as the “cameraman” (the middle yellow circle above), who

 Sandmann alleges Phillips “brought with him” to help execute this supposed scheme. S.D. 200:4-

 202:3 & Ex. D (S.D. Ex. 5) at 13:06-13:56.

         But Sandmann is, in a word, wrong, and his conspiracy theory is baseless.12 Phillips was

 not involved in organizing or leading the March. Phillips Decl. ¶ 2. The alleged “companions”

 did not even know one another when Phillips approached the students, much less hatched a plot to

 capture some viral moment. Phillips Decl. ¶ 33; Andrade Decl. ¶ 19; Frejo Decl. ¶ 25; Stegenga

 Decl. ¶ 16. One was actually a journalist. Stegenga Decl. ¶¶ 2, 16. The individual (Andrade) who

 called Phillips “grandpa” did not know Phillips but called him that because familial terms may be

 used as a respectful way to address an elder person in some indigenous cultures. Andrade Decl.

 ¶¶ 8, 17; Phillips Decl. ¶ 29. People considered Phillips an “elder” because he was obviously older

 than they were. Frejo Decl. ¶¶ 12-13; Andrade Decl. ¶¶ 8, 11, 17.

         As for the incident itself, it was impromptu and spontaneous. Different people, for different

 reasons of their own, happened to be standing in the Memorial area after the March and were


 12
    See Phillips Decl. ¶ 33 (“Going in front of the teenagers to try to accomplish that was a spur of the
 moment decision. Nothing I did from that point until the crowd of teenagers broke up was planned. It was
 all in response to how I perceived the teenagers in the crowd responding to me including, once he stood in
 front of me, Mr. Sandmann.”); Frejo Decl. ¶ 25 (Sandmann’s accusations that Phillips’ “drumming, singing
 and approaching the students was some kind of conspiracy to manufacture a viral moment” is “just false.”);
 Bell Decl. ¶ 22 (“I am stunned that Mr. Sandmann and his lawyers have since claimed that Mr. Phillips’
 approach was a premeditated publicity stunt, planned with other supposed ‘companions’ to create some
 kind of viral moment. To the contrary, to my knowledge it was a spur of the moment response to try to
 help diffuse a heated situation.”); Andrade Decl. ¶ 19 (“false” that “Mr. Phillips and other Native Americans
 there got together to plan some kind of political publicity stunt to create a confrontation with the students
 and capture it on video”); Stegenga Decl. ¶ 16 (“not true” that Stegenga was “part of a ‘group’ led by Mr.
 Phillips that planned some kind of publicity stunt”).



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 watching the back-and-forth between the students and the BHI. SF ¶¶ 19-22, 29-30. Each of them

 perceived it to be a potentially dangerous and escalating confrontation, as did others who were

 watching the same thing, including one of Sandmann’s peers. Id. & SF ¶ 17. Even so, exactly

 how each person perceived the situation, and why each of them drew that conclusion, varied.13

         As the situation seemed to escalate, Phillips voiced concern about what was happening

 between the students and the BHI. Phillips Decl. ¶ 12. Andrade was standing nearby and

 suggested that Phillips sing to try and defuse the situation. Andrade Decl. ¶ 8. Tee was also nearby

 and gave Phillips a drum to use. Tee Decl. ¶ 10. Frejo was standing some distance away but saw

 Phillips drumming and felt a responsibility to go and be with an elder, because his culture taught

 him that was the responsible thing to do. Frejo Decl. ¶¶ 11-14. Bell was standing near Phillips

 and simply followed his lead as an elder. Bell Decl. ¶ 13. Of those people, Bell was the only one

 Phillips knew personally. Phillips Decl. ¶ 12; Bell Decl. ¶ 4.

         But what those individuals did have in common was a cultural and religious tradition that

 taught them that drumming, singing, and praying was a natural and appropriate way to try to defuse

 a tense situation. Phillips Decl. ¶¶ 13-14; Tee Decl. ¶ 11; Andrade Decl. ¶¶ 8-9 ; Frejo Decl. ¶ 13;

 Bell Decl. ¶ 11. So what to Sandmann seemed like a malicious attempt to intimidate the students,

 and to some other students may have seemed just confusing, was in the eyes of Phillips, Frejo,

 Andrade, and Tee a natural, positive response to a tense and dangerous situation.

         Once Frejo joined Phillips in song, on the spur of the moment Phillips walked up towards

 the students. Phillips Decl. ¶¶ 16-17, 33. Phillips never told anyone he was going to do that, asked


 13
   For example, Phillips perceived the students’ behavior as aggressive and threatening. Phillips Decl. ¶¶
 7-10. Tee perceived it more as misguided, youthful machismo. Tee Decl. ¶ 9. Frejo thought the “sumo
 cheer” looked like a version of the haka, a dance native to another indigenous culture. Frejo Decl. ¶ 9. Bell
 perceived that a cheer described by Sandmann as “Victory is our Battle Cry” to be racially insensitive
 because it involved getting down on one knee in front of the BHI, which to Bell evoked images of the Colin
 Kaepernick controversy. Bell Decl. ¶ 12.


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 anyone to join him, or asked anyone to videotape anything. Id. ¶ 17; Andrade Decl. ¶¶ 10-11; Bell

 Decl. ¶ 13; Frejo Decl. ¶ 14; Tee Decl. ¶ 15; Stegenga Decl. ¶ 16. There were less than a handful

 of people who had started singing with Phillips before he approached the students, and they all

 followed of their own volition because they hold elders in high esteem and supported what they

 perceived to be Phillips’ attempt to pacify the charged situation. See Andrade Decl. ¶ 11; Bell

 Decl. ¶ 13; Frejo Decl. ¶¶ 12-15.      As for the man who Sandmann alleges was Phillips’

 “cameraman,” that was Andrade. He did not know Phillips, and like many others in the area,

 including CovCath students, was recording video for himself with his own camera, and did not

 post what he filmed on social media. Andrade Decl. ¶ 10.

        Once Phillips started approaching the students, other people in the area came to stand

 behind him, including the (unidentified) woman with “dream catcher earrings,” and as time passed,

 many other adults and teenagers. But Phillips had nothing to do with the choices made by any of

 the scores of other people who happened to be in the one of the nation’s most touristed places.

 Phillips Decl. ¶¶ 17, 33. Neither did Sandmann, who (like Phillips) testified that there were many

 adults and teenagers he did not know who were milling around and seemed to try to place

 themselves within or near the CovCath students. See, e.g., S.D. 139:20-140:11 (Sandmann thinks

 a teenager standing next to him may have been from a different school); S.D. 372:16-19 (student

 who said on a video that “land gets stolen, that’s how it works” attended a different Kentucky

 school); S.D. 83:22-84:20 (person standing at the edge of the CovCath students who joked about

 “lynchings” likely not a CovCath student).

        Finally, Sandmann premised his theory of a coordinated scheme heavily on his own

 speculation about the import of various words spoken by one person standing near Phillips (who

 was Andrade). That speculation is likewise refuted by the record.




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         First, the Complaints allege that one of Phillips’ supposed “accomplices” was “berating”

 a classmate, saying “you white people, go back to Europe where you came from.”14 According to

 Sandmann, this showed that the “accomplice” and Phillips were behaving in similar ways and had

 “a common link.” S.D. 330:11-18; 338:14-339:16. To the contrary, at that moment it was Phillips

 and Sandmann who reacted to that argument in at least one similar way, in that both were hoping

 each side of that argument would stop.

         Andrade spoke those words, to the same friend of Sandmann’s who just moments earlier

 had urged Sandmann to “Grab his d--k and twist it!” and Phillips to “beat that drum!”. SF ¶¶ 51-

 52. The friend engaged with Andrade and seemed to argue that Native Americans have no more

 claim to be indigenous than white Europeans because, he asserted, if you go back far enough in

 history (“let’s go back to Africa”), their ancestors emigrated over a “land bridge” and stole land.

 Video 3 at 01:38-02:20; Video 11 at 00:12-00:56. Far from a conspiracy to “get” Sandmann, both

 Phillips and Sandmann, along with Frejo, actually had one reaction to the exchange in common.

 Phillips wanted Andrade to stop. Phillips Decl. ¶ 27. Frejo actually urged Andrade to stop. Frejo

 Decl. ¶ 20; Video 3 at 02:02. And Sandmann says he did the same to his friend. S.D. 336:20-25.

         Second, the Complaints allege that shortly after the students dispersed, the same alleged

 “Phillips supporter” and “cameraman,” i.e., Andrade, said several times “I got him,” “I got him

 man.”    The Complaints allege those comments indicate that Phillips and his supporters

 “celebrated” their victory over a student.15 See also S.D. 271:7-273:14 (“To me that means that

 they got their captured moment on camera and they planned to post it, which turned out to be

 exactly what they did.”). In fact, Andrade was not anyone’s cameraman and the “him” he was


 14
    ABC Compl. ¶ 60; N.Y. Times Compl. ¶ 59; CBS Compl. ¶ 60; Gannett Compl. ¶ 46; Rolling Stone
 Compl. ¶ 59.
 15
    ABC Compl. ¶¶ 64-65; CBS Compl. ¶¶ 64-65; N.Y. Times Compl. ¶¶ 63-64; Rolling Stone Compl. ¶¶
 63-64; Gannett Compl. ¶¶ 50-51.


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 referring to was Phillips, not Sandmann or some other student. Andrade, as well as Bell, was

 assuring Frejo that Phillips would not be left alone after Frejo left the area. SF ¶ 54. Sandmann

 also speculates that when Andrade complained to a chaperone, “we had a demonstration here, and

 you come here and you do this?” (Video 11 at 1:08-23), that Andrade was referring to the

 confrontation with the students as the “demonstration” and further implying that it was pre-

 planned. This speculation likewise fails. The “demonstration” Andrade was referring to was the

 March, and he was expressing to a chaperone his frustration that after what had been a peaceful

 event, he felt the students had caused a disruption with their behavior. Andrade Decl. ¶ 15.

        Third, Sandmann makes much of the same “companion” (Andrade) calling out “we won

 grandpa.” The Complaints allege that this was evidence that the “companion” and Phillips knew

 each other and that “they got their captured moment on camera and they planned to post it [.]”16

 See also S.D. 272:2:3. But Andrade and Phillips did not know each other. Andrade used

 “Grandpa” to respectfully address an elder, not as a reference to a relationship. Andrade Decl. ¶

 17; Phillips Decl. ¶ 29.

        Similarly, as he was walking away Phillips called out “relatives, relatives” and “let’s make

 America great, let’s do that.” Video 6 at 00:00-00:30. Sandmann assumed Phillips said “relatives”

 because he was “referring to the people he’s with.” S.D. 371:21-372:10. But Phillips was simply

 trying to address everyone around him, especially the teenagers. Phillips Decl. ¶ 31. Here too, for

 Phillips, “relatives” was culturally a common way to get the attention of a group of people. Id.;

 see also Bell Decl. ¶ 19; Frejo Decl. ¶ 23. And Andrade explains that he said “we won” to express

 that Phillips had succeeded in “getting the students to stop their aggressive behavior and depart

 peacefully.” Andrade Decl. ¶ 17. For his part, Phillips was not sure what Andrade meant, but it


 16
   ABC Compl. ⁋ 65; CBS Compl. ¶ 65; N.Y. Times Compl. ¶ 64; Rolling Stone Compl. ¶ 64; Gannett
 Compl. ¶ 51.


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 did not reflect how he felt because he “did not perceive the situation as producing winners or

 losers.” Phillips Decl. ¶ 29. Likewise, neither Frejo nor Tee responded to the statement at all.

 Frejo Decl. ¶ 23; Video 3 at 3:20-3:34.

         Fourth, the Complaints allege that after Sandmann walked away and the students

 dispersed, Phillips did not go to the Memorial, but instead held his drum over his head and beat it

 loudly, while the rest of Phillips’ supposed “group” cheered. The Complaints allege Phillips was

 “celebrating” a successful plot to capture viral video.17 But what Sandmann witnessed Phillips

 doing was a ritual to end a prayer by symbolically sending it in all directions. Phillips Decl. ¶ 30.

 And as Phillips said in the Blocking Statements, he had tried to go to the Memorial to exit from

 what he perceived to be an ugly situation. Once the students dispersed, he had no need to do that.

 Id. ¶ 28.

         In short, summary judgment is warranted because the Blocking Statements are protected

 opinion. And while these Defendants submit that the reasons discussed herein are alone sufficient

 to grant summary judgment, each also separately maintains that the context in which the Blocking

 Statements were included within their specific articles and/or broadcasts further supports that

 conclusion. Those additional arguments are addressed in the separate briefs concurrently filed by

 each Defendant in each of the pending cases.

 II.     THE BLOCKING STATEMENTS ARE SUBSTANTIALLY TRUE.

         Even if this Court were to conclude that the Blocking Statements are statements of fact

 rather than opinion, summary judgment remains appropriate.           The “gist” or “sting” of the

 statements is that Sandmann deliberately stood in Phillips’ way to obstruct his path.           The

 undisputed facts, including Sandmann’s own testimony, show that is what occurred. Sandmann


 17
   ABC Compl. ⁋ 66; CBS Compl. ¶ 66; N.Y. Times Compl. ¶ 65; Rolling Stone Compl. ¶ 65; Gannett
 Compl. ¶ 52.


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 therefore cannot meet his constitutional burden to demonstrate that the Blocking Statements are

 materially false.

        A.      The First Amendment Places the Burden on Sandmann to Show That the
                Blocking Statements Were Materially False.

        While state defamation law typically places the burden on the defendant to prove truth, the

 First Amendment requires that every defamation plaintiff has the burden of proving that speech of

 public concern is materially false. Clark, 617 Fed. App’x at 508. Here there is no question the

 Defendants’ publications were speech of public concern. Post, 401 F. Supp. 3d at 789. And as

 the Sixth Circuit has noted, “[i]f the truth or falsity of public commentary cannot be determined,

 the First Amendment requires that the scales be “tip[ped] . . . in favor of protecting true

 speech.” Clark, 617 Fed. App’x at 508 (quoting Philadelphia Newspapers, Inc. v. Hepps, 475

 U.S. 767, 775-76 (1986)). Thus, summary judgment is required where a plaintiff “fail[s] to

 demonstrate a genuine issue as to the material falsity of any of the alleged defamatory statements.”

 Bennett v. Cisco Sys., Inc., 63 Fed. App’x 202, 207 (6th Cir. 2003).

        Importantly, a statement need not be literally true for the defendant to prevail. Rather,

 defamation law looks to whether “the substance, the gist, the sting, of the libelous charge be

 justified.” Estepp v. Johnson Cty. Newspapers, Inc., 578 S.W.3d 740, 744 (Ky. App. 2019)

 (quoting Masson v. New Yorker Mag., Inc., 501 U.S. 496, 517 (1991) (citation omitted)); see also

 Parry v. Mohawk Motors of Michigan, Inc., 236 F.3d 299, 312 (6th Cir. 2000) (same). Thus,

 media defendants are “not to be held to the exact facts or to the most minute details of the

 transactions that [they] report[].” Bell v. Courier-Journal & Louisville Times Co., 402 S.W.2d 84,

 87 (Ky. 1966). Courts have therefore regularly granted summary judgment to defendants on the

 falsity element of a defamation claim so long as the gist of allegedly defamatory statements was

 substantially true, even with respect to statements that (unlike here) did contain actual, factual



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 inaccuracies. See, e.g., Nichols v. Moore, 477 F.3d 396, 401 (6th Cir. 2007) (statements that

 individual was arrested “in connection with” the Oklahoma City bombing substantially true even

 though plaintiff was “never arrested or charged” for criminal acts “directly related” to the bombing,

 but rather charged in connection with an unrelated incident resulting from the investigation); see

 also Nat’l Coll. of Kentucky, Inc. v. WAVE Holdings, LLC, 536 S.W.3d 218 (Ky. Ct. App. 2017)

 (affirming summary judgment on grounds that statements at issue were true or substantially true);

 Trover v. Kluger, No. 4:05-cv-014-H, 2007 WL 528419, at *7 (W.D. Ky. Feb. 14, 2007) (record

 shows that plaintiff “would be unable to meet his burden” to prove that certain statements were

 false).

           B.     Sandmann Cannot Meet His Burden of Showing a Genuine Dispute That the
                  Blocking Statements Were Materially False.

           At bottom, the gist and sting of the Blocking Statements is that a teenager deliberately

 stood in the way of an older man to obstruct the path he was taking. The record shows that is what

 happened. When Phillips started walking in the direction of the Lincoln Memorial, there were

 multiple rows of students between Phillips and Sandmann. Sandmann observed that Phillips was

 moving forward, that students were moving out of Phillips’ way, and that Phillips was walking

 through the path they created for him. But Sandmann thought that by walking through the students,

 Phillips was trying to intimidate them. So he decided that “unlike others at my school” he was not

 going to step out of Phillips’ way. SF ¶ 40. Rather, he thought it was “time for someone to plant

 their foot” and “face up” to Phillips because “enough is enough” and he wanted to send a message

 that the school would not be intimidated. Id. In fact, Sandmann acknowledges (as video clearly

 shows) that just as Phillips was approaching, Sandmann moved over a little, and once he did he

 was standing directly in front of Phillips and did not move from that position for about six minutes.

 SF ¶¶ 38-41.



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        Because the gist and sting of the Blocking Statements is accurate, they are substantially

 true regardless of whether Sandmann quibbles with Phillips’ choice of the word “blocking” to

 express the point that Sandmann intentionally stood in his way. See, e.g., Novotny v. Elsevier, 291

 F. App’x 698, 706 (6th Cir. 2008) (statement that plaintiff was “sacked for fiddling with expenses”

 was substantially true where the undisputed facts showed that she was “terminated for attempting

 to have subordinates submit expense reports so that her supervisor would not review them”);

 Estepp, 578 S.W.3d at 746 (statements in newspapers article that plaintiff was “removed from”

 and “relieved of” his job were substantially true where plaintiff had resigned); Tannerite Sports,

 LLC v. NBCUniversal Media LLC, 135 F. Supp. 3d 219 (S.D.N.Y. 2015) (statement in news report

 that “right now I am basically holding a bomb in my hand” to refer to rifle targets used for sport

 was substantially true because the gist was that the targets could explode), aff’d sub nom. Tannerite

 Sports, LLC v. NBCUniversal News Grp., a division of NBCUniversal Media, LLC, 864 F.3d 236

 (2d Cir. 2017). See also Taxpayers’ League of Bell Cty. v. Sun Publ’g Co., 75 S.W.2d 564 (Ky.

 1934) (affirming demurrer because defendant’s statement that the plaintiff had “blocked” a county

 from paying its debts was not materially different than using words like “thwarted,” “impeded,”

 “hindered,” or “delayed”). Summary judgment should therefore be entered for each Defendant.

        In fact, although it is not necessary for the Court to address the matter any further,

 Defendants would be entitled to summary judgment even if the law required that the Blocking

 Statements be literally true (which it does not). See Tannerite, 135 F. Supp. 3d at 235 (defendant

 need not meet the “precise definition” of a word if its use of that word is substantially true). This

 Court has previously noted that “block” means “‘to obstruct or close with obstacles.’” Post, 401

 F. Supp. 3d at 792 (quoting Block, Oxford English Dictionary, OED (Oxford Univ. Press 2019)).

 Other definitions are materially the same.            See Block, Merriam-Webster Dictionary,




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 https://www.merriam-webster.com/dictionary/block (to “block” is “to hinder the passage,

 progress, or accomplishment of by or as if by interposing an obstruction”).

        Here, the undisputed facts shows that Sandmann did “obstruct [Phillips] with obstacles

 [himself],” and he did “hinder the passage [or] progress [of Phillips] . . . by interposing an

 obstruction [himself].” As to “retreat,” that word need not literally mean to move “backward” – it

 also means to “withdraw” or to “reced[e] from a position or state attained,” or simply to “move

 away from a place[.]”       See Retreat, Merriam-Webster Dictionary, https://www.merriam-

 webster.com/dictionary/retreat;       Retreat,        Oxford         Learner’s         Dictionaries,

 https://www.oxfordlearnersdictionaries.com/us/definition/english/retreat_2. There are no facts to

 create a genuine dispute over Phillips’ testimony that he was trying to “move away from a place”

 when Sandmann decided to stand in his way.

        Indeed, Sandmann’s explanation at his deposition shows that his dispute is not really with

 the facts, but rather with both the common-sense gist and even some dictionary definitions of the

 word “block.” He maintained that deliberately standing in Phillips’ way as he was walking forward

 was not “blocking” him. Rather, he testified that in order to have been “blocked”: (1) Phillips

 would have needed to try harder to circumvent the obstacle that Sandmann posed and test any

 possible escape route, and (2) Sandmann would in turn have needed to respond by matching each

 of Phillips’ movements to choke off any attempt by Phillips to leave. As Sandmann put it:

                Q. …In your opinion, what would it have looked like if you had
                blocked him, if you were blocking him?

                A. In my opinion, for me to block him, he would have had to have
                taken a step or a half step in another direction, other than standing
                there, even forward, and it would have required me to meet him in
                the corresponding way, wherever he went, to, you know, basically
                not let him go anywhere.




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                 Q. Okay. And that’s your understanding or definition of blocking in
                 this context?

                 A. Yes.

 S.D. 280:6-18. Sandmann also points out that about 15 seconds after he had already planted

 himself in Phillips’ way – and after Phillips had already looked to Sandmann’s right, Sandmann

 did not move and the two had “locked eye contact” – some space to Sandmann’s left opened up

 because other students who were standing there moved to the side, as shown in the screenshots

 below:




 Video 2 at 00:44, 00:53; see also id. at 00:32-01:34; Video 8 at 00:15-00:35. So Sandmann asserts

 that at that point Phillips could have tried to test him by seeing if Sandmann would allow Phillips

 to maneuver around him that way, and only if Sandmann had then moved again to step in his way

 could Phillips claim to have been “blocked.” S.D. 223:14-224:2; 232:11-234:1.

          Even at first blush, this argument is rich in irony. Sandmann insists that intentionally

 standing in Phillips’ way was not blocking him because as time passed, he speculates that other

 students nearby were less inclined to follow his lead and also block Phillips. In any event, the

 premise of Sandmann’s testimony is that Defendants must establish the literal accuracy of an

 extreme and idiosyncratic definition of “blocked” that he proffers. That is exactly the standard

 the substantial truth doctrine rejects. See Tannerite, 135 F. Supp. 3d at 235; 864 F.3d at 248 (court

 need not accept as true a plaintiff’s restrictive and “conclusory definitions” of the word “bomb”

 and instead must only consider “credible definitions”); Hildebrant v. Meredith Corp., 63 F. Supp.


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 3d 732, 739 (E.D. Mich. 2014) (rejecting plaintiff’s cramped argument that the phrase “accused of

 stealing during a raid” only substantially true if plaintiffs in fact stole); Fry v. Lee, 408 P.3d 843,

 850 (Colo. Ct. App. 2013) (rejecting plaintiff’s extreme and unsupported definitions of the words

 (1) “plagiarism” and “recant” as always entailing an intent requirement, and (2) “charge” as solely

 requiring a criminal indictment, all in contrast to “standard dictionary definitions”); Harrison v.

 Chicago Sun-Times, Inc., 793 N.E.2d 760, 767 (Ill. Ct. App. 2003) (rejecting plaintiff’s contention

 that the word “kidnapping” always referred to a narrow Illinois criminal offense as opposed to its

 commonly understood meaning of a “wrongful taking, or removal”).

         Put another way, neither defamation law nor common sense require that in order to convey

 the point that Sandmann deliberately stood in his way, the then 64-year-old Phillips had to behave

 like an NFL running back searching for some hole in the line to try to out-maneuver a teenager on

 a flight of icy stairs. To the contrary, the very fact that Sandmann maintains that to try to exit the

 situation Phillips had to stop and then try to “go around” Sandmann, or seek out some other escape

 route to evade him, confirms that Sandmann was deliberately “hindering the progress of” Phillips

 by obstructing it – i.e., blocking him even by a standard of literal truth. See S.D. 275:17-277:11.

 And it certainly establishes that the Blocking Statements are, at a minimum, substantially true.18

         Finally, Sandmann’s assessment of his own alleged predicament a few minutes into the

 confrontation further illustrates why he cannot escape summary judgment by trying to apply the

 literal truth of an idiosyncratic definition of “blocking” uniquely to Nathan Phillips’s words.

 Sandmann says that several minutes into the standoff he began to have second thoughts about



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    In discovery, Sandmann’s counsel stated that he intends to try to meet his burden on the element of
 material falsity by proffering the opinion of a linguistics professor who watched the videos to which the
 Parties stipulated. Should he do so, the Defendants will address at the appropriate juncture why her opinion
 is both patently inadmissible and why, in any event, it presents no barrier to entering summary judgment
 for each of the Defendants.


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 standing his ground. Although he claims that he never actually used the label “blocking,” he

 acknowledges that at that point he felt that he was surrounded on all sides and that the crowd,

 including Phillips, was blocking him. And his own therapist summarized Sandmann’s recollection

 as “he was being blocked by the crowd” to reflect Sandmann’s description that he felt

 “surrounded” and “stuck.” SF ¶ 50.

        Yet unlike Phillips, Sandmann was largely surrounded by his friends and classmates, and

 he acknowledges they would likely have stepped aside for him. So it was never physically

 impossible for Sandmann to leave. Id. The same common-sense gist of “blocking” applies no less

 to Phillips, and therefore to these Defendants. Summary judgment is therefore warranted because

 the Blocking Statements are substantially true.

                                         CONCLUSION

        For all the foregoing reasons, as well as the reasons set forth in the separate memorandum

 filed by each Defendant, each of the Defendants respectfully requests that this Court grant their

 motions for summary judgment and dismiss all claims against them.



 Dated: December 20, 2021                     Respectfully submitted,

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